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     California
10
11                               IN THE UNITED STATES DISTRICT COURT

12                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

13                                             OAKLAND DIVISION

14
15
     THE PEOPLE OF THE STATE OF                                Case No. 4:20-cv-03676-YGR
16   CALIFORNIA,
                                                               NOTICE OF STIPULATED DISMISSAL
17                  Plaintiff,                                 AND JOINT STATUS REPORT

18          v.
                                                               Re: Dkt. No. 34
19   UNITED STATES DEPARTMENT OF
     EDUCATION, et al.,                                        Judge: Hon. Yvonne Gonzalez Rogers
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                    Defendants.
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                     Notice of Stipulated Dismissal and Joint Status Report – Case No. 4:20-cv-03676-YGR
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 1                                NOTICE OF STIPULATED DISMISSAL
 2                                      AND JOINT STATUS REPORT
 3          The Parties have been engaged in settlement discussions over a number of months and
 4   earlier today, December 6, 2021, filed a stipulation to dismiss this action without prejudice
 5   pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). [Dkt. 35.] The Parties respectfully
 6   submit that today’s Stipulated Dismissal, which dismisses this action in its entirety, makes
 7   unnecessary the Case Management Conference the Court previously scheduled for December 13,
 8   2021 at 9:30 a.m. and the corresponding Case Management Statement due today. [See Dkt. 34.]
 9   The Parties thank the Court for encouraging settlement and affording the Parties time to negotiate
10   a resolution.
11
     DATED: December 6, 2021                                      Respectfully submitted,
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13                                                                ROB BONTA
                                                                  Attorney General of California
14
                                                                  /s/ Rose C. Goldberg
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27                                                                MARCIA BERMAN
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     Case 4:20-cv-03676-YGR Document 36 Filed 12/06/21 Page 3 of 3



 1
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